               IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                        WESTERN DIVISION

                              NO.: 5:19-CR-292-D-1


UNITED STATES OF AMERICA             )
                                     )
          v.                         )
                                     )
                                     )               ORDER
DARRELL LATEEF WATSON,               )
                                     )
                  Defendant          )



     Upon motion of the United States of America, by and through the United

States Attorney for the Eastern District of North Carolina, it is hereby ORDERED

that all court records pertaining to DARRELL LEE WATSON be changed to

correctly reflect the proper identification of the defendant as DARRELL LATEEF

WATSON.



      This the ~day of Oc-fu,boA         , 202.6 .




                                         United States District Judge




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